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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 17-20608-CIV-JAL

  ARWIN NICOLAS ZAPATA CARRERO and )
  all others similarly situated under 29 U.S.C. )
  216(b),                                       )
                                                )
                    Plaintiffs,                 )
          vs.                                   )
                                                )
  SANABI INVESTMENTS LLC d/b/a                  )
  OSCAR’S MOVING & STORAGE,                     )
  SAADY BIJANI a/k/a SANDY BIJANI,              )
  HANIN PRIETO,                                 )
                                                )
                   Defendants.                  )
  _____________________________________ )

                             JOINT STATEMENT OF THE CASE

         Plaintiff Arwin Nicolas Zapata Carrero filed a complaint against Defendant Hanin Prieto

  on February 16, 2017, claiming he was not paid overtime wages in violation of 29 U.S.C. 216(b).

  Mr. Zapata alleges that Mr. Prieto acted as his employer while both men were employed as

  movers at a company called Oscar’s Moving & Storage. Plaintiff alleges that Mr. Prieto is liable

  for his unpaid overtime wages.

  Dated this 12th day of June, 2019.

  Respectfully Submitted.


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   BY: _/s/ Natalie Staroschak, Esq.                   BY: _/s/ Jason B. Sherry, Esq.
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